                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         1:24-CV-00017-LCB-JLW

 JOHN DOE 1, et al.,

               Plaintiffs,
                                                   DEFENDANTS’ RESPONSE TO
        v.                                          PLAINTIFFS’ EMERGENCY
                                                      MOTION FOR STATUS
 NORTH CAROLINA DEPARTMENT                               CONFERENCE
 OF PUBLIC SAFETY, et al.,

               Defendants.




       Defendants, the North Carolina Department of Public Safety, Eddie Buffaloe, in his

official capacity as Secretary of the North Carolina Department of Public Safety, William

L. Lassiter, in his official capacity as Deputy Secretary of the Division of Juvenile Justice

and Delinquency Prevention, and Peter Brown, in his official capacity as Facility Director

of the Cabarrus Regional Juvenile Detention Center, through their undersigned counsel,

submit this response to Plaintiffs’ titled Emergency Motion for Status Conference (“Pls’

Motion”). (D.E. 58)

       This is not the first Emergency Motion for Status Conference that Plaintiffs have

filed in this case. (See, e.g., D.E. 35) The Court is well aware of the circumstances (and

the parties’ briefing) surrounding that motion. Here again, Plaintiffs have declined to

constructively engage in discussions to resolve discovery disputes prior to engaging in

motion practice. Defendants have been willing, and remain willing, to constructively




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engage with Plaintiffs. Indeed, they welcome the opportunity to develop cooperative

solutions that meet Plaintiffs needs but also account for the realities of their resource

limitations (including a recent change to one of the primary attorneys handling this matter

for Defendants).1

       This present motion apparently seeks to use the discovery process to burden and

harass Defendants.      Early in the discovery process, Plaintiffs served overly broad and

voluminous discovery requests prior to the Initial Pretrial Conference and the entry of a

scheduling order in the case. A copy of Plaintiff's’ first document requests to Defendants

are attached as Exhibit A. When counsel for Defendants asked for a 30-day extension of

time in which to respond to Plaintiffs’ lengthy discovery requests, which is a common

practice in litigation and normally granted as a professional courtesy, Plaintiffs resisted.2

Instead, Plaintiffs granted Defendants a mere 10-day extension of time to serve their

objections and responses, despite Defendants making it clear that they would not be in a

position to serve any documents within that time frame. A true copy of the email

correspondence between the parties is attached as Exhibit B.

       Unfortunately, this characterizes Plaintiffs approach to discovery in this case. In



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  Orlando Rodriguez, who was one of two primary counsel for Defendants, left NCDOJ in early
January for another position in state government. Another counsel, Laura McHenry, has been
diligently working to get up to speed in order to represent Defendants in this case along with
Matt Tulchin Both of Defendants’ current counsel also have numerous other cases and
responsibilities.
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  Defendants indicated to Plaintiffs this need for an extension several weeks before the discovery
schedule was entered in the case.

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this case, Plaintiffs have waited until either the eve of a holiday or late on a Friday to send

communications regarding discovery (see, e.g., correspondence attached as Exhibits C, D,

and E), noticed several depositions without first consulting Defendants regarding the

availability of counsel or witnesses, and, most recently, served numerous additional

discovery requests (including an additional 26 interrogatories and 23 Requests for

Admissions) towards the end of the scheduled fact discovery period (see Ex. E).3

       Plaintiff’s current motion is disingenuous, misleading, and, on occasion, false. First,

the assertion that juveniles in the State of North Carolina are being subjected to “often

long-term solitary confinement at the hands of Defendants in juvenile jails across the

State,” is patently false. Similarly, Plaintiffs’ contention that Defendants’ attorneys have

utterly failed to conduct a review of email communications, attempted to “sandbag”

Plaintiffs, and otherwise impermissibly delayed discovery and prevented Plaintiffs from

prosecuting their case is misleading and without merit.

       Indeed, Defendants have diligently tried to work with Plaintiffs throughout this

discovery process to ensure the fact-finding is thorough and complete, while balancing the

equities and burdens in the case. Defendants worked tirelessly with Plaintiffs to agree on

an ESI Protocol at the beginning of the case. The Court signed off on that protocol on June

24, 2024. (D.E. 34)


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 To date, Plaintiffs have served 83 document requests on Defendants, including 14 in their third
set of requests. It is apparent that, rather than serve the last set much earlier in the discovery
process, Plaintiffs have deliberately waited until the last possible day in order to further harry
Defendants.

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       Defendants then negotiated with Plaintiffs to establish acceptable search terms,

custodians, and parameters for the collection of documents. That process took several

months (with some trials and errors along the way) and a final agreement was not reached

until October 15, 2024. A copy of communications (externally and internally) and an Excel

Spreadsheet reflecting those efforts are attached as Exhibits F, G, and H. Defendants did

not finish collecting the documents that resulted from the final agreed upon parameters

until October 25, 2024, and it took an additional several weeks to upload and process all

the documents into Everlaw, the document review and production tool used by the North

Carolina Department of Justice. See Exhibit H; see also Exhibit I (November 20-22, 2024,

email correspondence between the parties). As evidenced by the attached correspondence,

Plaintiffs’ characterization of Defendants’ actions and their accusations are baseless.

       Contrary to Plaintiffs attempts to castigate Defendants for their conduct of discovery

in this case, Defendants have worked assiduously and earnestly in responding to Plaintiffs’

voluminous discovery requests. To date, Defendants have completed seven document

productions (not including a production of documents prior to the beginning of the

discovery period), consisting of more than 170,000 pages of information. The electronic

search and collection of documents that was completed at the end of October resulted in

almost 900,000 documents. Of those documents, Defendants have completed reviewing

almost 200,000 since November and produced nearly 30,000 responsive emails. More than

600,000 documents remain outstanding.



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       Plaintiffs, in their motion, feign outrage at one of Defendants’ proposed solutions –

immediately producing all remaining documents without review, subject to claw back –

and assert that such a proposal “is untenable and egregious.” Pls Motion at 4. What

Plaintiffs fail to mention, or otherwise disclose to the Court, is that Plaintiffs were the ones

who initially proposed that solution. Indeed, Plaintiffs suggested to Defendants just over

a month and a half ago that, “[i]n attempt to minimize or ideally avoid moving the Court

for further extensions to the discovery deadlines in this case, Plaintiffs propose that

Defendants produce all document families hitting on the agreed upon search terms to

Plaintiffs without review for responsiveness. To alleviate concerns about the production

of privileged materials, Plaintiffs would be amenable to excluding from this production

any documents hitting on the names or emails addresses of Defendants’ counsel and

reserving the right to claw back any privileged documents that are discovered after

production.” (Nov. 22, 2024 email from R. Lindholm to O. Rodriguez, attached as Exhibit

I) (emphasis added).

       In sum, Plaintiffs’ motion and their allegations are baseless. Defendants have never

represented that they would refuse to produce documents or otherwise supplement their

existing discovery responses – even after the close of fact discovery. In fact, on multiple

occasions Defendants have suggested to Plaintiffs that the parties would be better served

to seek an extension from the Court of the fact discovery deadline.

       Defendants have acted reasonably throughout the discovery process in this case.



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Moreover, Defendants remain committed to reviewing the remaining unreviewed

documents and producing all responsive, non-privileged material. Defendants are willing

to follow any reasonable path forward, including review by Plaintiffs as they initially

suggested in their email correspondence to Defendants, review by Defendants with

additional time, or a somewhat expedited review with the aid of an outside review team.

Regardless, Defendants have repeatedly informed Plaintiffs of the number of documents

outstanding, and their willingness to work with them to ensure that review is done in an

expeditious and thorough manner.



      Respectfully submitted this the 23rd day of January, 2025.



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